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 1    EVAN M. JONES (S.B. #115827)
      MARC F. FEINSTEIN (S.B. # 158901)
 2    DARREN L. PATRICK (S.B. #310727)
      O’MELVENY & MYERS LLP                                        FILED & ENTERED
 3    400 South Hope Street
      Los Angeles, California 90071
 4    Telephone:    (213) 430-6000                                         OCT 01 2019
      Facsimile:    (213) 430-6407
 5
      Attorneys for Hyundai Steel Company                             CLERK U.S. BANKRUPTCY COURT
                                                                      Central District of California
 6                                                                    BY carranza DEPUTY CLERK


 7

 8                            UNITED STATES BANKRUPTCY COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10                                     LOS ANGELES DIVISION
11

12    In re                                              Case No. 2:18-bk-19004-VZ
13    JONG UK BYUN,                                      Chapter 11
14                       Debtor.                         ORDER DISMISSING THE
                                                         DEBTOR’S CHAPTER 11 CASE
15
                                                         Date: September 26, 2019
16
                                                         Time: 11:00 a.m.
17                                                       Place: Courtroom 1368
                                                                255 E. Temple Street
18                                                              Los Angeles, CA 90012

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20            The Court, having entered its Order to Show Cause Why the Debtor’s Chapter 11 Case

21   Should Not Be Converted or Dismissed (“OSC”) on May 7, 2019 [Docket No. 131], having

22   considered the responses thereto filed by the Debtor on September 12, 2019 [Docket No. 205] and

23   by secured creditors Packo Investments, Inc., Allen Park, M&A Equities, LLC, the BAE Family

24   Trust, Mohamed Sanfaz, and Kap Chan Chong on September 17, 2019 [Docket No. 207], having

25   held a hearing on the OSC at the above-captioned time and place with appearances noted on the

26   record, there being no objection to the dismissal of the Debtor’s Chapter 11 case, and good cause

27   appearing, hereby orders as follows:

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 1           The Debtor’s Chapter 11 case is dismissed.

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     Date: October 1, 2019
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